Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 1 of 17 PageID #:
                                    9604
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 2 of 17 PageID #:
                                    9605
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 3 of 17 PageID #:
                                    9606
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 4 of 17 PageID #:
                                    9607
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 5 of 17 PageID #:
                                    9608
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 6 of 17 PageID #:
                                    9609
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 7 of 17 PageID #:
                                    9610
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 8 of 17 PageID #:
                                    9611
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 9 of 17 PageID #:
                                    9612
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 10 of 17 PageID #:
                                    9613
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 11 of 17 PageID #:
                                    9614
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 12 of 17 PageID #:
                                    9615
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 13 of 17 PageID #:
                                    9616
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 14 of 17 PageID #:
                                    9617
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 15 of 17 PageID #:
                                    9618
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 16 of 17 PageID #:
                                    9619
Case 1:08-cr-00076-BMC   Document 1943 Filed 03/06/09   Page 17 of 17 PageID #:
                                    9620
